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c. Until such time as the monitoring equipment has been repaired and/or replaced and properly
maintained, Respondent shall conduct monitoring by collecting grab samples every four hours
in lieu of the continuous monitoring. For any instance where grab sampling is conducted in
lieu of the required continuous monitoring, Respondent shall identify this deviation in the
weekly MORs provided in accordance with Paragraph 43(43.a) of this Order.

37. CFE Turbidity Exceedance Events.

a. Inthe event of CFE turbidity measurements exceeding 1.0 NTU, Respondent shall implement
the following:

i.

il.

IV.

Vi.

Comply with alt requirements of NPDWRs, including 40 C.F.R. §§ 141.170 —
141.175.

Notify the EPA and MSDH within 24 hours. If cause of the exceedance is known,
include this information with notice. However, do not hold or delay the notification in
instances where the cause of the exceedance is not known.

Consult with MSDH on the exceedance and the appropriate BWN.
Respondent shall issue a Tier | public notice as required by 40 C.F.R. § 141.202.

Within 24 hours after the CFE turbidity is less than 0.3 NTU, Respondent shall
collect consecutive daily (one sample per calendar day) special purpose samples
(bacteriological and microbial) (defined in 40 C,F.R. § 141.21(a)(6)) from the entry
point to the distribution system of the treatment plant that had the turbidity
exceedance, as well as any other distribution sampling location deemed necessary as
identified by MSDH. Respondent shall ensure that each sample is analyzed for total
coliform, £. coli (if sample is total coliform positive), and chlorine residual.

Provide the EPA with chlorine residual results as measured at the entry point to the
System and in the System’s distribution for 10 calendar days preceding and following
the event.

b. In the event of CFE turbidity measurements exceeding 2.0 NTU, Respondent shall implement
the following:

1.

Comply with all requirements of NPDWRs, including 40 C.F.R. §§ 141.170 —
141.175.

Immediately issue an appropriate BWN, provide notice and consult with MSDH
within 24 hours, and provide notice to the EPA within 24 hours.

Respondent shall issue a Tier | public notice as required by 40 C.F.R. § 141.202.

Within 24 hours after the CFE turbidity is less than 0.3 NTU, the System shall collect
consecutive daily (one sample per calendar day) special purpose samples
(bacteriological and microbial) (defined in 40 C.F.R. § 141.21(a)(6)) from the entry
point to the distribution system of the treatment plant that had the turbidity
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exceedance as well as any other distribution sampling location deemed necessary, as
identified by MSDH. Respondent shall ensure that each sample is analyzed for total
coliform, £. coli (if sample is total coliform positive), and chlorine residual.

v. Provide the EPA with chlorine residual results as measured at the entry point to the
System and in the System’s distribution for 10 calendar days preceding and following
the event.

vi. Respondent shall provide the EPA and MSDH a self-assessment evaluation of CFE
and IFE to include: (1) assessment of filter performance: (2) development of a filter
profile; (3) identification and prioritization of factors limiting filter performance; and
(4) corrective action plan to address the issue.

38. Low Pressure/Loss of Pressure Events. In the future event that Respondent experiences breaks in
water lines or other low pressure or loss of pressure events likely to cause contamination in the
System’s distribution system, Respondent will take the following actions:

a. Respondent shall consult with MSDH within 24 hours to determine if a BWN is required and
provide notification to the EPA within 24 hours.

b. Respondent shall issue a Tier | public notice as required by 40 C.F.R. § 141.202.

c. Respondent shall immediately repair the line break or cause of the low pressure/loss of
pressure. When satisfied that system pressure will be maintained and there is adequate
chlorine residual, Respondent shall begin sampling from the affected area as described below.
MSDH typically recommends a free chlorine residual of 0.5 mg/l at the ends of your
distribution system.

d. Within 24 hours after making repair(s) to the water line(s) as required above, Respondent
shall begin collecting special purpose samples (bacteriological and microbial) (defined in 40
C.F.R. § 141.21(a)(6)) from the System’s distribution system. The chart, in Attachment I to
this Order, lists the number of samples required based on the number of customers affected. If
the entire system is placed on BWN, samples should be collected from sites representing the
entire water system. Respondent shall ensure that each sample is analyzed for total coliform,
E.coli (if the sample is total coliform positive), and chlorine residual. Respondent shall
continue sampling until results from two consecutive rounds are total coliform negative.

39. Alternative Water Source Plan Development and Implementation.

a, Within 14 days of the Effective Date of this Order, Respondent shall develop, and submit to
the EPA for review and approval, an Alternative Water Source Plan (“AWSP”). Inthe AWSP,
Respondent shall detail how and where it will provide at least one gallon of potable water per
day. per person to every person served by the System. This allotment of alternative water must
be made available at no cost to every person served by the System, as needed for drinking,
cooking, maintaining oral hygiene, and dish washing. The AWSP will also outline how
Respondent will inform every person served by the System of when and how an alternative
water source is made available. As part of its AWSP, Respondent may opt to provide an
alternate water supply that is: (1) provided by a licensed water distributor; (2) purchased
bottle water; or (3) provided by another public water system that meets the requirements of

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the NPDWRs. Note: If the AWSP trigger is localized to a specific portion of the distribution
system and the entire system is not impacted, Respondent may opt to only serve alternative
water to the portion of the population impacted. In order to consider this approach, the AWSP
must include a detailed map of the System.

b. The alternative source of water provided shall meet all applicable SDWA requirements at 40
C.F.R. §141. If bottled water will be used by Respondent as an alternative water in accordance
with this Order, Respondent must ensure that the bottled water is certified by the International
Bottled Water Association or National Sanitation Foundation International.

c. AWSP Implementation Triggers.

i. If, based upon Respondent’s Revised Total Coliform Rule (“RTCR”) sampling data
collected in accordance with 40 C.F.R. § 141.857 and as outlined in Paragraph 41
below, the PWS exceeds 5.0% total coliform-positive samples in any monthly period
during the term of this Order, Respondent shall comply with the “Level 1” assessment
requirements of the RTCR at 40 C.F.R. § 141.859(b). In addition, Respondent shall
begin implementation of the AWSP within 24 hours of receiving such sampling
results. Respondent shall continue implementing the AWSP until the EPA provides
written notification to Respondent that AWSP implementation is no longer required;
or

ii. Within 24 hours of Respondent’s collection of daily special purpose samples required
under Paragraphs 37 and 38 above, Respondent shall begin implementation of the
AWSP. Respondent shall continue implementing the AWSP until all daily special
purpose sample results are total coliform negative. Note: The AWSP may consider, in
certain situations, that only a portion of the population is impacted by the triggering
event and therefore alternative water only needs to be provided to those impacted. See
requirements under Paragraph 39(a) above.

Notifications and Reporting

40. Within 72 hours of the Effective Date of this Order, Respondent shall provide the February 2020

MORs, including the IFE data forall conventional filters at both the O.B. Curtis and J.H. Fewell
WTPs during this timeframe.

41. Sample Siting Plan.

a. Within one week of the Effective Date of this Order, Respondent shall review its current
Sample Siting Plan developed pursuant to 40 C.F.R. § 141.853, to ensure consistency with the
RTCR, at 40 C.F.R. Part 141, subpart Y, and simultaneously provide a copy of the current
Sample Siting Plan to the EPA for the EPA’s concurrent review.

b. If the current Sample Siting Plan does not include a minimum of 120 sampling locations per
month as required under 40 C.F.R. § 141.857(b), Respondent shall update the Sample Siting
Plan to achieve the required minimum monitoring frequency for the monthly monitoring
period after the Effective Date of this Order.
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c. Within 10 business days of the Effective Date of this Order, Respondent shall provide to the
EPA, RTCR sampling data for the months of January 2020 and February 2020. If the
Respondent has not yet conducted the March 2020 sampling, this sampling shall be conducted
within one week of the Effective Date of this Order and the results submitted within 10 days
of receipt of the sampling analysis. If the March 2020 sampling has been completed prior to
the Effective Date of this Order, Respondent shall submit these results along with the January
2020 and February 2020 results. All RTCR sampling data shall include the chlorine residual
data for the RTCR locations.

d. The Respondent shall continue to submit the RTCR sampling data to the EPA until directed
otherwise. This data shall include all chlorine residual data for all RTCR sampling locations.

. Respondent must notify the EPA within 24 hours after learning of a violation of this Order or any
NPDWRs, or of a situation with the potential to have serious adverse effects on human health as a
result of short-term exposure to contaminants.

. Establishing Regular Contact with the EPA.

a. Immediately upon the Effective Date of this Order and until further notice by the EPA,
Respondent shall submit MOR information weekly as follows:

i. Reports must run from Sunday to Saturday each week;

ii. Weekly reports must be submitted to the EPA and MSDH by Tuesday of the
following week (e.g., for the monitoring timeframe of Sunday, March 29 through
Saturday, April 4, the report must be submitted by Tuesday, April 7).

ul. IFE data must be submitted with each weekly MOR until further notice.

iv. Ifat any time, the Respondent is notified, by the EPA or MSDH that a revision to the
MOR is required, the Respondent shall implement the revision on the following
report required unless the EPA or MSDH provides a specific alternate timeline for
implementation.

b. Within five business days of the Effective Date of this Order, Respondent shall begin
submitting weekly updates to the EPA on Respondent’s progress complying with this Order.
Respondent shall submit subsequent weekly reports on Tuesday of each subsequent week.
Each weekly update shall identify and describe all actions taken in the previous week to meet
the requirements of this Order.

c. Within seven business days of the Effective Date of this Order, Respondent shall contact the
EPA to set up a mutually agreeable meeting schedule. The purpose of the meetings to be
scheduled pursuant to this paragraph are to accomplish the following goals:

i. Provide an opportunity for the Respondent and the EPA to clarify requirements and
timelines,

li. | Provide an opportunity for Respondent to report to the EPA any issues, concerns, or
problems it faces in complying with the terms of this Order, and

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iii. | Provide an opportunity for Respondent and the EPA to maintain an open channel of
communication wherein new information can be shared.

d. Respondent shall prepare an outline of all the requirements in this Order, how Respondent
plans to meet all the requirements of this Order, and submit to the EPA in writing at least 48
hours in advance of the first agreed-upon meeting required under Paragraph 43(c) above. If
this falls on a weekend, Respondent shall provide the outline on the last workday before the
meeting.

44, Respondent shall send all reports, notifications, documentation and submittals required by this

Order in writing or via e-mail to:

U.S. EPA, Region 4

Enforcement and Compliance Assurance Division
Attn: Amanda Driskell

U.S. Environmental Protection Agency

61 Forsyth Street

Atlanta, GA 30303

Email: driskell.amanda@epa.gov

45. Allreports, notifications, documentation, and submissions required by this Order must be signed by

46.

47.

48.

49,

a duly authorized representative of Respondent and must include the following statement:

“I certify under penalty of law that this document and all attachments were prepared under
my direction or supervision in accordance with a system designed to assure that qualified
personnel properly gather and evaluate the information submitted. Based on my inquiry of
the person or persons who manage the system, or those persons directly responsible for
gathering the information, the information submitted is, to the best of my knowledge and
belief, true, accurate, and complete. I am aware that there are significant penalties for
submitting false information, including the possibility of fine and imprisonment for
knowing violations.”

TV. PARTIES BOUND

The provisions of this Order shall apply to and be binding upon Respondent, its officers,
employees, agents, successors, and assigns.

V. GENERAL PROVISIONS

This Order constitutes final agency action. Under Section 1448(a) of the SDWA. 42 U.S.C. § 300)-
7(a), Respondent may seek federal judicial review.

The EPA may modify this Order to ensure protection of human health. The EPA will communicate

any modification(s) to Respondent in writing and the modification(s) shall be incorporated into this
Order.

Compliance with the terms and conditions of this Order shall not in any way be construed to relieve

Respondent from its obligations to comply with all provisions of federal, state, or local law, nor
shall it be construed to be a determination of any issue related to any federal, state or local permit.

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Compliance with this Order shall not be a defense to any actions subsequently commenced for any
violation of federal laws and regulations administered by the EPA, and it is the responsibility of
Respondent to comply with such laws and regulations.

Pursuant to SDWA Section 1431(b), 42 U.S.C. § 300i(b), in the event Respondent violates, fails or
refuses to comply with any of the terms or provisions of this Order, the EPA may commence a civil
action in U.S. District Court to require compliance with this Order and to assess a civil penalty of
up to $24,386 per day of violation under the SDWA, as adjusted by the Federal Civil Penalties
Inflation Adjustment Act of 1990, amended by the Debt Collection Improvement Act of 1996, and
the subsequent Civil Monetary Penalty Inflation Adjustment Rule, 40 C.F.R. § 19.

The EPA reserves all rights against Respondent and all other persons to take any further civil,
criminal, or administrative enforcement action pursuant to any available legal authority, and to
exercise its information gathering and inspection authorities. Nothing in this Order shall preclude
the EPA from taking any additional enforcement actions, including modification of this Order or
issuance of additional Orders, and/or additional actions as the EPA may deem necessary, and/or
from requiring Respondent in the future to perform additional activities pursuant to the SDWA or
any other applicable law.

VIL EFFECTIVE DATE

Under SDWA Section 1431, 42 U.S.C. § 3001, this Order shall be effective immediately upon
Respondent’s receipt of this Order. If modifications are made by the EPA to this Order, such
modifications will be effective on the date received by Respondent. This Order shall remain in
effect until the provisions identified in the Order have been met in accordance with the EPA's
written approval.

VIL. TERMINATION

The provisions of this Order shall be deemed satisfied upon Respondent’s receipt of written notice
from the EPA that Respondent has demonstrated, to the satisfaction of the EPA, that the terms of
this Order have been satisfactorily completed.
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FOR THE U.S. ENVIRONMENTAL PROTECTION AGENCY:

(ark Y. Ka hs 3/24/2020

Carol L. Kemker, Director Date

Enforcement and Compliance Assurance Division
Region 4

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ATTACHMENT I

Sampling Requirements

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# of Connections # of Samples # of Connections # of Samples
Affected Required Affected Required
1 — 100 2 4,301 — 5,700 18
101 — 300 3 5,701 — 8,300 20
301 — 500 4 8.301 — 11,000 30
501 — 700 5 11,001 — 13,000 40
701 — 900 6 13,001 — 16,000 50
901 — 1,100 7 16,001 — 19,000 60
1,101 — 1,300 8 19,001 — 23,000 70
1,301 — 1,600 9 23,001 — 27,000 80
1,601 — 2,200 10 27,001 — 32,000 90
2,201 — 2,500 1] 32,001 — 43,000 100
2,501 — 2,800 12 43,001 — 73,000 120
2,801 — 4,300 15 73,001 — 107,000 150

Note: Equivalent connections (and population served) will be considered when determining the number of
samples which must be collected for a system with a large ratio of population to connections.

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Mailing Addresses forthe CCs:

Mr. Robert K. Miller, Director

City of Jackson Department of Public Works
200 South President Street

Jackson, Mississippi 39205-0017

William Moody, MSDH
Bureau of Public Water Supply
P.O. Box 1700

2423 North State Street
Jackson, MS 39215-1700

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